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 8                                 UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11    UNITED STATES OF AMERICA, and the                No. 2:12-cv-1699-KJM-EFB
      STATE OF CALIFORNIA, et al., ex rel.
12    LOYD F. SCHMUCKLEY, JR.,
13                       Plaintiffs,                   ORDER AFTER HEARINGS
14            v.
15    RITE AID CORPORATION,
16                       Defendant.
17

18           The case was before the court on December 12, 2018, for hearing on (1) plaintiff-

19   intervenor State of California’s motion to compel defendant Rite Aid to produce documents and

20   for sanctions (ECF No. 150), (2) Rite Aid’s motion for a protective order (ECF No. 153), and (3)

21   relator Loyd Schmuckley’s motion to compel Rite Aid to produce documents and for sanctions

22   (ECF No. 165). Attorneys Jennifer Bartlett and Brian Borrow appeared on behalf of relator.

23   California Deputy Attorney Generals Emmanuel Salazar and Bernice Yew appeared on behalf of

24   California. Attorneys Michael Eagan and Benjamin Smith appeared on behalf of Rite Aid.

25           For the reasons stated on the record, it is hereby ORDERED that:

26           1. State of California’s motion to compel Rite Aid to produce documents and for

27   sanctions (ECF No. 150) is denied;

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     Case 2:12-cv-01699-KJM-EFB Document 179 Filed 12/21/18 Page 2 of 2

 1           2. Rite Aid’s motion for a protective order (ECF No. 153) is denied; and
 2           3. Relator’s motion to compel Rite Aid to produce documents (ECF No. 165) is granted
 3   in part and denied in part as follows:
 4                   a. By no later than December 26, 2018, the parties shall file a proposed stipulated
 5   protective order governing the exchange of any confidential documents.
 6                   b. By no later than later than January 9, 2019, Rite Aid shall produce to relator all
 7   investigation documents it previously produced to California that are related to any claim and
 8   defense in this action.
 9                   c. By no later than January 30, 2019, Rite Aid shall serve relator and California
10   with a log identifying all documents it withheld on the basis of relevancy. The log shall describe
11   each withheld document in sufficient detail to allow relator to assess Rite Aid’s contention that it
12   is not relevant to this case.
13                   d. The balance of the motion is denied.
14   DATED: December 21, 2018.
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